1                                                          The Honorable Robert J. Bryan

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                            UNITED STATES DISTRICT COURT
8                          WESTERN DISTRICT OF WASHINGTON
                                     AT TACOMA
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      STATE OF WASHINGTON,                       CIVIL ACTION NO. 17-cv-05806-RJB
10
                             Plaintiff,
11
                   v.
12
      THE GEO GROUP, INC.,
13
                             Defendant.
14

15    UGOCHUKWU GOODLUCK                         CIVIL ACTION NO. 17-cv-05769-
      NWAUZOR, FERNANDO                          RJB
16    AGUIRRE-URBINA, individually
      and on behalf of all those similarly
17    situated,                                  JOINT REPORT REGARDING
18                                 Plaintiffs,   REMOTE TRIAL PROCEEDINGS

19                 v.
20    THE GEO GROUP, INC., a Florida
      corporation,
21

22    Defendant.
23

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     JOINT REPORT REGARDING REMOTE                            ATTORNEY GENERAL OF WASHINGTON
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                                                                          (206) 464-7744
1            On December 4, 2020, this Court issued a letter to the parties in this case asking the

2    parties what they think about a possible Zoom trial. Nwauzor, ECF No. 313; State, ECF No. 429.

3    The Parties conferred as to the feasibility of an all-virtual Zoom trial. The State and Private

4    Plaintiffs are agreeable to trial by Zoom. On the other hand, GEO strongly objects to an all-

5    virtual Zoom Trial and accepts the Court’s alternative to wait out the pandemic. The Parties’

6    positions are set forth in further detail in the foregoing joint report.

7            1.      Plaintiffs’ Positions Regarding Possibility of a Remote Trial.

8            The State of Washington is agreeable to trial by Zoom. If the Court is inclined to proceed

9    with a remote trial, Washington is prepared to proceed in February 2021 or thereafter.

10   Scheduling trial in February, March, or April 2021 would provide all parties the opportunity to

11   modify their preparations to account for the nature of trial by Zoom, ensure that all parties and

12   witnesses are prepared for remote proceedings, and to account for now-existing conflicts of all

13   counsel. Washington believes that with that limited amount of time prior to trial, all technical

14   and logistical hurdles can be resolved and the case can proceed in an orderly and efficient fashion

15   via remote means.

16           The Private Plaintiffs also consent to trial by Zoom, and agree to a trial setting any time

17   after April 5, 2021. Other trial commitments in January and February 2021 render Class Counsel

18   unavailable for an earlier setting.

19           Plaintiffs note that GEO provided its written “position” below, which spans more than

20   17 pages, at 12:08 p.m. on December 18, 2020—the date this Joint Report is due. Plaintiffs

21   believe GEO’s lengthy argument is improper in a Joint Report of this nature and dispute the facts

22   and statements of law in GEO’s statement. Given the timing of GEO’s statement in relation to

23   the Court’s deadline, Plaintiffs are not in a position to respond to the substance of GEO’s

24   arguments. If the Court wishes to proceed with trial by Zoom and would like the assistance of

25   further briefing in response to GEO’s arguments below, Plaintiffs are happy to provide it.

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1           2.      Defendant’s Position Regarding Possibility of a Remote Trial.

2           Defendant The GEO Group, Inc. (“GEO”) firmly objects to an all-virtual jury trial. This

3    complex case is not well suited for a virtual trial, particularly given that courts are in the early

4    phases of determining the efficacy of such procedures. Both parties in this case are entitled to a

5    fair and just result. Any result in a virtual trial would be marred by concerns about whether all

6    jurors received the same information or if technical and other distractions prevented the jurors

7    from considering all evidence presented. The result would be a verdict shrouded in uncertainty.

8    Moreover, GEO would be deprived of the opportunity to present this complex and important

9    trial in open court with a live audience and three dimensional participants; instead, it would be

10   relegated to presenting its case one dimensionally on a small screen, in some cases possibly the

11   size of a smart phone. This would be contrary to the fundamental nature of a jury trial:

12                  Jury trials are innately human experiences. More is often
                    communicated in a courtroom non-verbally than verbally. Such a
13                  human experience must allow for the look and feel of direct human
                    interaction. . . the remote, sterile, and disjointed reality of virtual
14                  proceedings cannot at present replicate the totality of human
                    experience embodied in and required by our Sixth and Seventh
15                  Amendment.
16          Infernal Tech., LLC v. Sony Interactive Entertainment, LLC, 19 CV-00248, Dkt. No. 261

17   at n 4. at n. 4 (E.D. Tex. Nov. 20, 2020) (emphasis added) (Attached as Exhibit A). Given the

18   extensive time the parties have spent in discovery and preparation for trial of this complex and

19   novel case—an all-virtual trial would be innately inappropriate and would deprive GEO of a fair

20   presentation of its case.

21          Indeed, a remote virtual trial will deny GEO its constitutional guarantees of a “trial by

22   jury” under the Seventh Amendment and of fundamental fairness in the jury trial process. The

23   Seventh Amendment requires “a trial by a jury in the presence . . . of a judge,” Capital Traction

24   Co. v. Hof, 174 U.S. 1, 13–14 (1899), and procedural due process requires an adequate

25   opportunity to be heard, Reid v. Engen, 765 F.2d 1457, 1463 (9th Cir.1985); Kirk v. U.S. I.N.S.,

26   927 F.2d 1106, 1107 (9th Cir. 1991). Due process requires “that the agency gave the appealing


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1    party adequate notice and an opportunity to be heard, and that procedural irregularities did not

2    undermine the fundamental fairness of the proceedings.” Sherman v. State, 128 Wn.2d 164, 184,

3    905 P.2d 355 (1995). As explained herein, a Zoom trial flatly contradicts the Seventh

4    Amendment’s jury-presence requirement, and under the current technological capabilities, it is

5    a near certainty that irregularities in the all-virtual process will undermine the fundamental

6    fairness of any remote trial.

7                    A.      This Case is Not Well Suited for a Zoom Trial.

8             GEO has reviewed the cases that this Court has noted were tried remotely and has

9    concluded that they do not provide a justification that the instant case, a class action with many

10   complexities and witnesses, should be tried remotely. From GEO’s research, no jury trial has

11   spanned longer than eight days. Nor has any court, to date, virtually tried a class action trial.

12   GEO should not be made to be the test subject.

13            No all-virtual trial has come close to the scope and magnitude of the present case. Instead,

14   the cases highlighted have all been single-plaintiff actions challenging a narrow set of facts.1

15   This case is a class action encompassing tens of thousands of former and current ICE detainees

16   and many different individual fact patterns. This case involves claims brought not only by private

17   plaintiffs against GEO, but also claims brought by the Washington Attorney General seeking a

18   change in the existing application of Washington law. The plaintiffs seek tens of millions of

19   dollars in damages and the trial is expected to last at least three weeks. Plaintiffs have collectively

20   listed twenty-seven witnesses for their case in chief. Nwauzor ECF 297. In addition, GEO has

21   identified up to twenty-four additional witnesses for a total of over fifty witnesses. Id. Plaintiffs

22   have identified nearly six hundred documents that they will use in their case in chief, many of

23   1
       See e.g. Dallo v. Holland America Line N.V., LLC, Case No. 2:19-cv-00865 (W.D. Wash.)
24   (Zilly, J.) (resolving a single-plaintiff personal injury case involving a plaintiff who fell while
     on a cruise ship); Goldstine v. FedEx Freight, Inc., Case No. 2:18-cv-01164 (W.D. Wash.)
25   (Pechman, J.) (involving a former employee’s disability discrimination claim); Orn v. City of
     Tacoma, Case No. 3:13-cv-05974 (W.D. Wash.) (Pechman, J.) (involving a plaintiff’s challenge
26   to his treatment during a single interaction with Tacoma police).

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1    which are thousands of pages long. While GEO has listed only 230 exhibits, Plaintiffs have

2    disputed the admissibility of every single exhibit proposed by GEO. Further, GEO is not only

3    the defendant in this case. It is also the counterclaimant in that it has its own affirmative case

4    that it will present to the jury, in addition to the defenses to Plaintiffs’ claims. Thus, unlike the

5    prior cases where admissibility concerns could be addressed in advance of trial, here, it will

6    likely be necessary for the Court to address the exhibits as trial progresses and with the necessary

7    context for each exhibit. Without this context, there is no meaningful way for the Court to

8    determine in advance of the trial how many of the over 800 exhibits could be introduced through

9    50 different witnesses.

10          Further, the logistics of trial will be unwieldy. Many of GEO’s witnesses live in Florida

11   and are on Eastern Standard Time—three hours ahead of Washington. Thus, by 4:00 p.m. PST,

12   it is 7:00 p.m. EST. As a result, trial hours would be in constant flux, or GEO’s witnesses would

13   be forced to testify late in the day, when they are fatigued. Breaks would not be consistent among

14   the time zones. For example, an east coast witness may require a lunch break at noon, which

15   would only be 10:00 a.m. in Washington. At the same time, the jurors would all be in Washington

16   and may thereafter need a lunch break shortly after the witness in the east coast returned from

17   his or her break. Add in additional time zones, including GEO’s counsel’s presence in Mountain

18   Standard Time, and the logistics of scheduling the trial, its attendant breaks and start and stop

19   times, and the schedule would quickly become unmanageable.

20          In addition, the other cases that have been tried virtually involved pressing circumstances

21   requiring a race to a verdict—this case does not involve such circumstances. For example, in

22   Orn v. City of Tacoma, Case No. 3:13-cv-05974, the lawsuit had been pending over seven years.

23   Exhibit B at 3. Plaintiff was ill and at risk of not being able to testify if the trial was further

24   delayed. Exhibit B at 3. Likewise, in Judge Zilly’s recent trial, Dallo v. Holland America Line

25   N.V., LLC, the Plaintiff lived in California, was in her late eighties, had suffered a brain injury,

26   and was not interested in travelling. Case no. 2:19-cv-00865, ECF 429-1 at 3 (W.D. Wash.).


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1    Here, there are no such pressing circumstances that counterbalance the risk of an unduly

2    prejudicial remote trial.

3             Moreover, the ability of the general public to view the proceedings in large numbers also

4    poses additional concerns. Indeed, if jurors believe that anyone in their community could be

5    tuned in on the video conference (including new media) on questions of their personal beliefs

6    and opinions, they may not be forthcoming—particularly as it relates to highly political topics

7    such as immigration. This is not a situation where the juror is in the Court and can see exactly

8    who is there watching and counsel can address any apparent influence in the courtroom. Instead,

9    there is a pressure that hundreds of individuals, some of whom you may know—maybe your

10   boss who is confirming you are at jury duty or your teenage child learning about civics, could

11   be watching. To that end, the Western District of Washington generally has a policy “of

12   protecting a juror’s identity” and “will not confirm with anyone” whether a particular person is

13   serving on the jury.2 There will be no way to do so here. This is particularly concerning in a case

14   which involves polarizing political opinions and where jurors may be asked to rule contrary to

15   the political positions that have been adopted by the Attorney General of Washington.

16            This problem will become more acute still once the jury enters deliberations.

17   Confidentiality is the very hallmark of jury deliberations, and it has always been jealously

18   guarded. See e.g., Mattox v. United States, 146 U.S. 140 (1892); Tanner v. United States, 483

19   U.S. 107, 120 (1987). That protection could not be maintained against the threats of various

20   recording devices available to jurors at home and elsewhere. Such recordings and subsequent

21   leaks are likely to damage public trust in the integrity of the judicial system, and even the threat

22   of exposure to public whim and malice will chill and bias jury deliberations. See McDonald v.

23   Pless, 238 U.S. 264, 267–68 (1915).

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      Jury Summons FAQs, https://www.wawd.uscourts.gov/jurors/jury-summons#Q12 (last visited
26   December 10, 2020).

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1            In addition, there is no way for GEO to ensure the confidentiality of its documents. GEO

2    has previously discussed with Plaintiffs that, while the jury may see certain documents, those

3    documents must stay within the courtroom. The parties have discussed GEO’s need to ensure all

4    jurors and members of the public do not take pictures of the exhibits or otherwise take them

5    outside of the courtroom. To that end, the parties have discussed limiting any photography or

6    dissemination beyond the courtroom of sensitive documents. In a virtual trial, there is no feasible

7    method for ensuring these documents remain confidential and are not screenshotted,

8    photographed, or otherwise captured and preserved by the public or the jury.

9            Finally, to the extent GEO seeks sequestration of certain fact witnesses, it will not be

10   possible. There will be no way to ensure that fact witnesses do not listen to all testimony that

11   will be broadcast publicly for anyone to hear. Indeed, any and all fact witnesses could simply

12   call into the public line for the trial and listen to the entirety of the testimony.

13           A full virtual trial is not only unprecedented in American history; it is also

14   unconstitutional. The Seventh Amendment to the United States Constitution ordains that “[i]n

15   Suits at common law, where the value in controversy shall exceed twenty dollars, the right of

16   trial by jury shall be preserved.” As the Supreme Court noted recently in the related Sixth

17   Amendment context, “the promise of a jury trial surely meant something–otherwise there would

18   have been no reason to write it down.” Ramos v. Louisiana, 140 S. Ct. 1390, 1395 (2020). “In

19   order to ascertain the scope and meaning of the Seventh Amendment,” the Supreme Court long

20   ago established, “resort must be had to the appropriate rules of the common law established at

21   the time of the adoption of that constitutional provision in 1791.” Dimick v. Schiedt, 293 U.S.

22   474, 476 (1935).

23                   B.      A Full Zoom Trial is Unconstitutional.

24           A full virtual trial is not only unprecedented in American history; it is also

25   unconstitutional. The Seventh Amendment to the United States Constitution ordains that “[i]n

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5    ago established, “resort must be had to the appropriate rules of the common law established at

6    the time of the adoption of that constitutional provision in 1791.” Dimick v. Schiedt, 293 U.S.

7    474, 476 (1935).

8           Those rules are clear: “ ‘Trial by jury,’ in the primary and usual sense of the term at the

9    common law and in the American constitutions . . . is a trial by a jury . . . in the presence and

10   under the superintendence of a judge empowered to instruct them on the law and to advise them

11   on the facts, and (except on acquittal of a criminal charge) to set aside their verdict, if, in his

12   opinion, it is against the law or the evidence.” Capital Traction Co. v. Hof, 174 U.S. 1, 13–14

13   (1899). As today, so too at the Founding, to be “present” was to be “[n]ot absent; face to face;

14   being at hand,” 2 Samuel Johnson, A Dictionary of the English Language (4th ed. 1773),

15   https://bit.ly/31BN3TZ (emphasis added); see also 2 Noah Webster, An American Dictionary of

16   the English Language (1828), https://bit.ly/2De6EAu. Thus, the Seventh Amendment’s

17   requirement that a “trial by jury” occur in the presence of a judge was none other than a

18   constitutional command that the jury be at hand to the judge who is to superintend them.

19          Plainly, a Zoom trial violates this constitutional command. Jurors dispersed to anywhere

20   with internet access are not at hand to the judge. They are not “in the presence . . . of a judge,”

21   and a trial so conducted is not a “ trial by jury” under the Seventh Amendment. For the reasons

22   set out below, a Zoom trial is bad policy, but even if the court disagrees, it is unconstitutional

23   policy under the Seventh Amendment. The Founders deemed it necessary for a jury to be in

24   living flesh before the judge to resolve questions before the court.

25                  C.      A Zoom Trial Presents Barriers to Justice.

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1           Under Federal Rule of Civil Procedure 43(a), “[a]t trial, the witnesses’ testimony must

2    be taken in open court unless a federal statute, the Federal Rules of Evidence, these rules, or

3    other rules adopted by the Supreme Court provide otherwise.” However, the rule also provides

4    that “[f]or good cause in compelling circumstances and with appropriate safeguards, the court

5    may permit testimony in open court by contemporaneous transmission from a different location.”

6    Fed. R. Civ. P. 43(a). Accordingly, the decision to require testimony by videoconference falls

7    within the Court’s discretion. See Thomas v. Anderson, 912 F.3d 971, 977 (7th Cir. 2018)

8    (“[U]nder Rule 43(a), the judge has discretion to allow live testimony by video for ‘good cause

9    in compelling circumstances and with appropriate safeguards.’”), cert. denied, ––– S. Ct. ––––,

10   140 S.Ct. 533, 205 L.Ed.2d 334 (2019).

11          Conducting a trial by videoconference is certainly not the same as conducting a trial

12   where witnesses testify in the same room as the factfinder. Thornton v. Snyder, 428 F.3d 690,

13   697 (7th Cir. 2005), cert. denied, 547 U.S. 1192, 126 S.Ct. 2862, 165 L.Ed.2d 896 (2006).

14   Indeed, “[v]ideoconference proceedings have their shortcomings.” Id. ” ‘[V]irtual reality is

15   rarely a substitute for actual presence and ... even in an age of advancing technology, watching

16   an event on the screen remains less than the complete equivalent of actually attending

17   it.’” Id. (quoting United States v. Lawrence, 248 F.3d 300, 304 (4th Cir. 2001)). Certain features

18   of testimony useful to evaluating credibility and persuasiveness, such as “‘[t]he immediacy of a

19   living person’” can be lost with video technology, and the “‘ability to observe demeanor, central

20   to the fact-finding process, may be lessened[.]’” Id. (citations omitted). Accordingly, “remote

21   transmission [of testimony] is to be the exception and not the rule.” Lopez v. NTI, LLC, 748 F.

22   Supp. 2d 471, 479 (D. Md. 2010).

23          While some proceedings may take place remotely, the judicial system traditionally

24   prefers to conduct proceedings in person where the hearing serves the purpose of fact-finding,

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1    rendering credibility a central contention.3 There is good cause for this preference. “The parties

2    and the court each have vital and complementary interests in seeing actions resolved

3    expeditiously and fairly after a proper opportunity for all sides to be heard.” Ciccone v. One West

4    64th Street, Inc., No. 651748/2016, 2020 WL 6325719, at *3 (N.Y. Sup. Ct. Sep. 08, 2020).

5    Indeed, multiple studies have shown that the results of proceedings may change based upon

6    whether the proceedings are held remotely. For example, one study of immigration courts found

7    that detained individuals were more likely to be deported when their hearings occurred over

8    video conference rather than in person.4 Taking these findings a step further, “in three out of six

9    surveyed immigration courts, judges identified instances where they had changed credibility

10   assessments made during a video hearing after holding an in-person hearing.”5 Following these

11   findings (and others), a report from the American Bar Association, which issued

12   recommendations for reforming the immigration system, argued that based on its 2010 findings,

13   the use of video conferencing technology can undermine the fairness of proceedings by making

14   it more difficult to establish credibility and thus argue one’s case and suggests limiting the use

15   of video to nonsubstantive hearings.6 In a case related to previously detained immigrants, these

16   concerns are particularly salient.7

17

18   3
       See e.g. Supra Infernal Tech, Exhibit A at n.4 (E.D. Tex. Nov. 20, 2020) (“While some motion
     practice may be adequately addressed via virtual proceedings, the Court believes that the fair
19
     adjudication of the rights of the parties, as envisioned by the Framers and embodied in the Sixth
20   and Seventh Amendments, requires jury trials to be conducted in-person.”).
     4
       Alicia Bannon, The Impact of Video Proceedings on Fairness and Access to Justice in Court,
21   available        at       https://www.brennancenter.org/our-work/research-reports/impact-video-
     proceedings-fairness-and-access-justice-court (December 15, 2020).
22   5
       Id.
     6
       Eagly, “Remote Adjudication,” 978, 984, 989. See American Bar Association Commission on
23
     Immigration, 2019 Update Report: Reforming the Immigration System, 2019,
24   https://www.americanbar.org/content/dam/aba/publications/commission_on_immigration/2019
     _reforming_the_immigration_system_volume_1.pdf.
     7
25     See Rapheal v. Mukasey, 533 F.3d 521, 532–34 (7th Cir. 2008) (finding that the statutory right
     to a fair hearing is violated if remote testimony has “the potential for affecting the [judge’s] view
26   of [the respondent’s] credibility and in turn the outcome of [the] case”).

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1             Indeed, there is evidence that in part, some of these differences can be attributed to a

2    “vividness effect,” whereby testimony that is more “emotionally interesting and proximate in a

3    sensory, temporal, or spatial way is generally perceived by observers as more credible and is

4    better remembered . . it can be argued that live testimonies, due to face-to-face immediacy, are

5    perceived [by jurors] as more vivid than, for example, video-based testimonies, and in-turn are

6    perceived more favourably, considered more credible and are more memorable.”8 Another

7    contributing factor can be that “[t]he audio feature on some videoconferencing technology uses

8    a middle bandwidth filter that cuts off low and high voice frequencies, which are typically used

9    to transmit emotion [and, in turn] removes critical emotional cues that can be used by judicial

10   officers to determine a defendant’s remorse and character.”9

11            Additionally, it is likely that remote jury service will leave out a clear cross-section of

12   the jury pool. While this court has focused on what can be done to ensure those who lack access

13   to technology or lack technical savvy can participate, there has been no investigation into

14   whether remote juror service is likely to negatively impact participation by women—particularly

15   mothers. Indeed, there is ample research that with the closures of schools and childcare centers,

16   women have been disproportionately impacted.10 Without the availability of childcare and

17   schools, many parents will be unable to serve. Indeed, this Court’s juror information instructs

18   jurors not to “bring children to the courthouse. Since you will be participating in an official court

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     8
20     Alicia Bannon, The Impact of Video Proceedings on Fairness and Access to Justice in Court,
     available       at     https://www.brennancenter.org/our-work/research-reports/impact-video-
21   proceedings-fairness-and-access-justice-court (last visited December 15, 2020).
     9
            Lauren      Kirchner,       How    Fair       Is     Zoom Justice?     available   at
22   https://themarkup.org/coronavirus/2020/06/09/how-fair-is-zoom-justice (last visited December
     15, 2020).
23   10
         Patricia Cohen, Pandemic Could Scar a Generation of Working Mothers,
24   https://www.nytimes.com/2020/06/03/business/economy/coronavirus-working-women.html
     (“Among married couples who work full time, women provide close to 70 percent of child care
25   during standard working hours, according to recent economic research. That burden has been
     supersized as schools and other activities shut down and help from cleaning services and
26   babysitters has been curtailed.”).

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1    proceeding, you will not be able to provide proper supervision.”11 In the event that a parent does

2    not have childcare, the court suggests that the juror “request a postponement.”12 Given the

3    limited access to childcare and schooling during the pandemic, it is likely that a large cross-

4    section of the jury pool will be unable to serve.

5                   D.      Prior Jury Trials Provide Ample Evidence of Juror Non-
                            Attentiveness During Service.
6

7           While virtual jury trials are still in their experimental phase, and a number have

8    concluded, each trial to proceed thus far has failed to identify an effective way to ensure jurors

9    pay attention during trial. For example, in O’Campo v. Honeywell, during voir dire, the attorneys

10   and court struggled to get all jurors to turn on their cameras for remote juror service. Exhibit C,

11   Case No. RG19041182, Doc. 22744410 (Notice of Irregularities July 24, 2020). Thereafter, the

12   jurors were often distracted by other tasks while sitting at their computers. For example, Juror

13   No. 23 in the Honeywell trial was purportedly playing a video game during the afternoon session.

14   Exhibit C. Juror No. 36 began the day laying down during testimony and later turned off his

15   camera. Juror. Nos. 69 and 70 were working on other devices during the presentation of the case.

16   Id. Many others were sleeping or not paying attention. Id. Indeed, in the recent trial in front of

17   Judge Pechman, Orn, in only the first week of a three-week trial, a juror left the remote

18   proceedings to pick up her daughter while testimony was ongoing. Exhibit D, Orn Dkt. 226 at

19   4. At the same time, other jurors were looking at places other than the presentation of the case

20   or otherwise distracted. Exhibit D, Orn Dkt. 227. These irregularities in the process should come

21   as no surprise because “video calls make it easier than ever to lose focus.”13

22

23   11
        https://www.wawd.uscourts.gov/jurors/jury-summons#Q12
     12
24      Id.
     13
        Benjamin Rasmussen, ‘Zoom fatigue’ is taxing the brain. Here's why that happens, available
25   at https://www.nationalgeographic.com/science/2020/04/coronavirus-zoom-fatigue-is-taxing-
     the-brain-here-is-why-that-happens/ (last visited December 15, 2020) (“We’ve all done it:
26   decided that, why yes, we absolutely can listen intently, check our email, text a friend, and post

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1           On top of these distractions, there were numerous technological difficulties with which

2    the parties and jurors had to contend. In a recent CLE for the Federal Bar Association, Judge

3    Pechman explained that a juror lost power and had to drive to the library to try to find a place to

4    continue her service.14 The same distractions and technical issues have been seen in other courts.

5    In Texas, proceedings were delayed while a juror’s Zoom video froze and five other jurors were

6    dismissed due to technical issues.15 While technology in courtrooms has advanced significantly,

7    it is currently not adequate. Indeed, as noted by Judge Zilly, trial was interrupted four or five

8    times in the span of a single week because jurors lost connection. Nwauzor ECF 313-1. These

9    technical difficulties, coupled with the distraction to jurors of the stimulus in their own homes,

10   make the presentation of the case a mere afterthought.

11          Indeed, in concluding that remote jury trials could not permissibly substitute for in-

12   person trials, Judge Gilstrap of the United States District Court for the Eastern District of Texas

13   explained:

14                  The virtual proceedings detracted from the typical administration of
                    justice, depriving the Court of the ability to observe such critical
15                  factors as intonation, body-language, attitude, demeanor, and
                    similar vocal and other physical nuance and those quasi-intangibles
16                  that normally breathe life and meaning into the written briefing filed
                    on the docket. This approach also unavoidably hampered the Court’s
17                  ability to interject questions and have an easy dialogue with counsel.
                    In some instances, virtual proceedings before this Court were
18                  infected by the necessarily casual features of home life, such as
                    intrusions of advocates’ spouses, children, and family pets. While
19                  such happenings may be an increasing norm of remote work in many
                    contexts, they stand in stark contrast to the formality and solemnity
20                  in which Court proceedings traditionally are and must be conducted.
21

22   a smiley face on Slack within the same thirty seconds. Except, of course, we don’t end up doing
     much listening at all when we’re distracted.”).
23   14
        See Virtual Celebration December 9, 2020, available at http://fba-wdwash.org/event/577/.
24   Counsel for GEO attended this virtual CLE.
     15
        Justin Jouvenal, Justice by Zoom: Frozen video, a cat — and finally a verdict, available at
25   https://www.washingtonpost.com/local/legal-issues/justice-by-zoom-frozen-video-a-cat--and-
     finally-a-verdict/2020/08/12/3e073c56-dbd3-11ea-8051-d5f887d73381_story.html (last visited
26   December 14, 2020).

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1                    Such problems are only magnified in complex proceedings with
                     many moving parts.
2
     See supra Infernal Technology v. Sony, Exhibit A at n.1.
3
     Thus, GEO opposes a virtual trial because it would be deprived of its day in court. At a minimum,
4
     GEO has the right to present its case where it has the undivided attention of jurors, free from the
5
     distractions in their home, including their kids, pets, spouses, televisions, and other devices. This
6
     is not possible in a remote trial.
7
                     E.      The Inability to Prevent Jurors from Introducing Improper Outside
8                            Information Deprives GEO of an Opportunity for a Fair Trial.

9
             A virtual trial provides no way to ensure jurors do not use the technology in front of them
10
     to conduct extrajudicial research into the parties or witnesses in the trial. Despite the fact that
11
     the technology to monitor and limit an individual’s use of technology exists,16 and that it is
12
     widely used by employers to limit the use of company devices or ensure freedom from
13
     distraction,17 it is not currently available for jurors. In practice, this means a juror can be
14
     simultaneously using an internet search engine to research the parties or witnesses while they
15
     are providing testimony, messaging their friends about the trial, or otherwise looking at other
16
     information during the presentation of a case. The Court would have no way of monitoring
17
     whether the information on the juror’s screen is the testimony (and Zoom screen) or, instead, an
18
     extraneous document or conversation. With a virtual trial, there is no way to monitor jurors’
19
     16
20      See e.g. Tom Spiggle, Can Employers Monitor Employees Who Work From Home Due to the
     Coronavirus, available at https://www.forbes.com/sites/tomspiggle/2020/05/21/can-employers-
21   monitor-employees-who-work-from-home-due-to-the-coronavirus/?sh=200ee6472fb7
     (discussing monitoring software). Indeed, with this particular concern in mind, Zoom previously
22   had a function that allowed the host of a zoom call to see if meeting attendees navigated away
     from the app for longer than 30 seconds during a meeting, in an effort to monitor attentiveness.
23
     See also Sara Morrison, Just because you’re working from home doesn’t mean your boss isn’t
24   watching you, available at https://www.vox.com/recode/2020/4/2/21195584/coronavirus-
     remote-work-from-home-employee-monitoring. Without such a function, there is no way to
25   discern whether an individual even has the zoom window in front of them, or if instead, the
     person is watching a different computer application placed in front of the zoom.
26   17
        Id.

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1    activities on their personal devices or other distracting and improper influences.18 Indeed, Judge

2    Zilly noted as much, indicating one juror had been on his cellphone the entire trial (despite an

3    admonishment not to do so) and the Court had no idea until the end of the case. Nwauzor ECF

4    313-1. There is simply no way to know what technology jurors have and what they could be

5    doing. Thus, an all-virtual trial would deprive GEO of the due process protections afforded in an

6    in-person trial. To be sure, “the introduction of outside influences into the deliberative process

7    of the jury is inimical to our system of justice” United States v. Bagnariol, 665 F.2d 877, 884

8    (9th Cir. 1981).

9            As the Handbook For Trial Jurors Serving In The United States District Courts states:

10   “The words of Supreme Court Justice Oliver Wendell Holmes from over a century ago apply

11   with equal force to jurors serving in this advanced technological age: ‘The theory of our system

12   is that the conclusions to be reached in a case will be induced only by evidence and argument in

13   open court, and not by any outside influence, whether of private talk or public print.’”19

14   Consistent with this directive, the Ninth Circuit has made clear that even something as seemingly

15   innocuous as consulting a dictionary amounts to impermissible conduct by the jury.20 “In one

16   sense the violation may be more serious than where these rights are denied at some other stage

17   of the proceedings because the defendant may have no idea what new evidence has been

18   considered. It is impossible to offer evidence to rebut it, to offer a curative instruction, to discuss

19   18
        By way of example, Attorney Mell recently conducted an interview of a witness on Zoom,
20   when the witness city clerk who appeared distracted ultimately conceded that a City Council
     Member was instructing her how to answer the questions off screen
     19
21       Handbook For Trial Jurors Serving In The United States District Courts, available at
     https://www.uscourts.gov/sites/default/files/trial-handbook.pdf (last visited December 15, 2020)
22   (emphasis added).
     20
         Marino v. Vasquez, 812 F.2d 499, 502-03, 505 (9th Cir.1987) (holding that consulting a
23
     dictionary definition for the meaning of “malice” constituted the consideration of extrinsic
24   information); see also see also Fields v. Brown, 503 F.3d 755, 793 (9th Cir. 2007) (juror’s
     introduction of biblica passages was a violation of a juror’s oath); Thompson v. Borg, 74 F.3d
25   1571, 1574 (9th Cir.1996) (“Juror misconduct typically occurs when a member of the jury has
     introduced into its deliberations matter which was not in evidence or in the instructions.”
26   (emphasis added)).

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1    its significance in argument to the jury, or to take other tactical steps that might ameliorate its

2    impact.”21 To that end, the Handbook for Trial Jurors Serving In the United States District Courts

3    makes clear that “during the trial [jurors should not] discuss the case at home or elsewhere.

4    Information that a juror gets from a private source may be only half true, or biased or inaccurate.

5    It may be irrelevant to the case at hand. At any rate, it is only fair that the parties have a chance

6    to know and comment on all the facts that matter in the case.”22 Yet, as noted by Judge Zilly

7    during each break jurors “bolted for the coffee pot in the kitchen or whatever,” rather than

8    observing the other jurors and ensuring they did not communicate with others in their household.

9    Nwauzor ECF 313-1. The breakout rooms are not monitored, and jurors are free to leave their

10   computers (talk to others on the phone or Google the case). Where jurors are sitting at home with

11   their families, eating lunch with them during the breaks, and potentially listening to the trial in a

12   common living area, such as a living room, it is not clear how these key directives to jurors can

13   be met and due process preserved.

14           This is of particular concern in this case where jurors could be colored by the numerous

15   news articles and opinion pieces written about this case and the Northwest ICE Processing

16   Center (“NWIPC”) generally. If jurors can search the internet for information about the NWIPC

17   and the allegations, they could read accounts that are inaccurate, are subject to motions in limine,

18   and information that GEO would be unable to address or rebut—as it would not be before the

19   Court. Further, with the trial’s remote broadcast, it is highly likely that reporters could be

20   publishing their own accounts of the trial at the end of each day, which could also improperly

21   color the jurors’ impression of the evidence and the trial. Accordingly, absent a clear mechanism

22   for limiting jurors’ use of their technology during the trial (as well as their interactions with those

23   in their own households), the risk of impropriety far outweighs any perceived benefit of a virtual

24
     21
        Gibson v. Clanon, 633 F.2d 851, 854–55 (9th Cir. 1980).
     22
25      Handbook For Trial Jurors Serving In The United States District Courts, available at
     https://www.uscourts.gov/sites/default/files/trial-handbook.pdf (last visited December 15,
26   2020).

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1    trial. Thus, to ensure the trial is not colored by extrajudicial evidence, this Court should wait

2    until trials can safely be conducted in person to resolve the above identified concerns.

3                   F.      Zoom Fatigue Will Impair the Jury.

4           In addition to the general technological concerns with Zoom, this case is not well suited

5    for a three-week trial because evidence cannot be presented in an equivalent manner as if it were

6    in person. There is ample evidence that a week-long trial would be very difficult for jurors; it

7    would be even more difficult in a three-week trial. Even in an in-person trial, a jury’s task is

8    arduous and involves weighing many pieces of evidence to reach the just result. Research

9    evidence demonstrates that, over Zoom, it would be more difficult and more tiring. “Zoom

10   fatigue,” which stems from how individuals process information over video, will impede any

11   jury’s ability to take in information remotely. As one expert explained, “[o]n a video call the

12   only way to show we’re paying attention is to look at the camera. But, in real life, how often do

13   you stand within three feet of a colleague and stare at their face? Probably never. This is because

14   having to engage in a ‘constant gaze’ makes us uncomfortable — and tired.”23 Indeed, “[b]eing

15   on a video call requires more focus than a face-to-face chat.” 24 On a video chat, individuals must

16   “work harder to process non-verbal cues like facial expressions, the tone and pitch of the voice,

17   and body language; paying more attention to these consumes a lot of energy.”25 Yet, it is these

18   very things that are the most critical to a jury’s duty to assess the credibility of witnesses and

19   weigh the balance of the evidence. Some studies that show that even a brief pause or break in

20   testimony that would be appropriate or unremarkable in everyday conversation is likely to be

21

22
     23
        Benjamin Rasmussen, ‘Zoom fatigue’ is taxing the brain. Here's why that happens, available
23
     at https://www.nationalgeographic.com/science/2020/04/coronavirus-zoom-fatigue-is-taxing-
24   the-brain-here-is-why-that-happens/ (last visited December 15, 2020).
     24
             The     reason     Zoom      calls      drain   your      energy,    available     at
25   https://www.bbc.com/worklife/article/20200421-why-zoom-video-chats-are-so-exhausting
     (last visited December 15, 2020).
26   25
        Id.

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1    perceived differently on Zoom.26       Because individuals are concerned about losing their

2    connection, even a 1.2 second delay in responding to a question resulted in a perception that the

3    speaker was less friendly or focused.27

4            There can be no question that presentation of GEO’s case through the Zoom platform is

5    likely to impact how the jury perceives the witnesses’ testimony. A large portion of what a

6    witness communicates is through “nonverbal signals such as facial expressions, the tone and

7    pitch of the voice, gestures, posture and the distance between the communicators.”28 During an

8    in-person trial, a jury will “process these cues largely automatically and can still listen to the

9    speaker at the same time. But on a video chat, [the jury] need[s] to work harder to process

10   nonverbal cues. Paying more attention to these consumes a lot of energy.”29 Thus, at worst, the

11   jury is deprived of many of these sensations which are critical30 to its assessment of an

12   individual’s credibility, and at best the jury is easily fatigued and unable to take in the same

13   amount of information that they would be able to in person.31 These impacts are also not unique

14   to the jury, as counsel is similarly deprived of the benefit of observing the sensory perceptions

15   of the jury.32

16   26
         Libby Sander, Zoom fatigue is real — here’s why video calls are so draining, available at
17   https://ideas.ted.com/zoom-fatigue-is-real-heres-why-video-calls-are-so-draining/ (last visited
     December 15, 2020).
18   27
         Id.
     28
         Liz Fosslein, How to Combat Zoom Fatigue, available at https://hbr.org/2020/04/how-to-
19
     combat-zoom-fatigue (last visited December 15, 2020).
     29
20       Id.
     30
         Benjamin Rasmussen, ‘Zoom fatigue’ is taxing the brain. Here's why that happens, available
21   at https://www.nationalgeographic.com/science/2020/04/coronavirus-zoom-fatigue-is-taxing-
     the-brain-here-is-why-that-happens/ (last visited December 15, 2020) (“Humans communicate
22   even when they’re quiet. During an in-person conversation, the brain focuses partly on the words
     being spoken, but it also derives additional meaning from dozens of non-verbal cues, such as
23
     whether someone is facing you or slightly turned away, if they’re fidgeting while you talk, or if
24   they inhale quickly in preparation to interrupt.”).
     31
         Id.
     32
25      J. Richard Caldwell Jr., Christian Tiblier and Kathleen Shea, What Are the Constitutional
     Considerations in Resuming Civil Jury Trials During a Pandemic?, available at
26   https://www.law.com/dailybusinessreview/2020/10/13/what-are-the-constitutional-

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1            Furthermore, when individuals are on Zoom, they are aware they are being watched, and

2    often watch their own face to control their own behavior.33 During in-person conversations, the

3    speaker us typically not aware of their facial expressions which are often a good indicator of our

4    credibility or belief in what we are actually saying. With Zoom, many of these cues are lost

5    because people can carefully watch their own faces and moderate their expressions and, by

6    extension, modify the jury’s perception of their credibility. At the same time, these witnesses

7    will be more easily exhausted because of the added pressure of seeing themselves perform.34 The

8    jury will also suffer fatigue in its effort to discern credibility without the non-verbal cues that we

9    have become accustomed to. “If a person is framed only from the shoulders up, the possibility

10   of viewing hand gestures or other body language is eliminated. If the video quality is poor, any

11   hope of gleaning something from minute facial expressions is dashed.”35 Thus, the effect of

12   “zoom fatigue” will impair the jury’s ability to assess credibility and weigh the evidence.

13                   G.      Conclusion

14           In sum, with the successful clinical trials of several COVID-19 vaccines, and the

15   dissemination of the vaccine beginning across the country, the trial of this matter could

16
     considerations-in-resuming-civil-jury-trials-during-a-pandemic/ (“Many times, a jury’s
17   individual and collective reaction to a development at trial can and does influence counsel’s
     appreciation and evaluation of the trial progress. Plaintiffs as well as defendants are ill-served
18   by a lawyer’s inability to observe jurors’ body language and other reactions during trial. In any
     remote proceeding, a lawyer’s perception of the jury’s (and judge’s) understanding of and
19
     receptiveness to evidence or argument must necessarily be dramatically handicapped.”).
     33
20      Libby Sander, Zoom fatigue is real — here’s why video calls are so draining, available at
     https://ideas.ted.com/zoom-fatigue-is-real-heres-why-video-calls-are-so-draining/ (last visited
21   December 15, 2020); see also Benjamin Rasmussen, ‘Zoom fatigue’ is taxing the brain. Here's
     why                   that                 happens,                  available                  at
22   https://www.nationalgeographic.com/science/2020/04/coronavirus-zoom-fatigue-is-taxing-the-
     brain-here-is-why-that-happens/ (last visited December 15, 2020) (“[M]ost of us are also staring
23
     at a small window of ourselves, making us hyper-aware of every wrinkle, expression, and how
24   it might be interpreted.”).
     34
        Id.
     35
25      Benjamin Rasmussen, ‘Zoom fatigue’ is taxing the brain. Here's why that happens, available
     at https://www.nationalgeographic.com/science/2020/04/coronavirus-zoom-fatigue-is-taxing-
26   the-brain-here-is-why-that-happens/ (last visited December 15, 2020).

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1    conceivably continue in-person in 2021. There is no reason to rush the case to trial at the risk of

2    jeopardizing both sides’ right to a fair trial.

3    Jointly submitted this 18th day of December 2020,
4
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1                                  CERTIFICATE OF SERVICE

2           I hereby certify that the foregoing document was electronically filed with the United

3    States District Court using the CM/ECF system. I certify that all participants in the case are

4    registered CM/ECF users and that service will be accomplished by the CM/ECF system.

5
            Dated this 18th day of December 2020.
6

7
                                                 CAITILIN HALL
8                                                Legal Assistant
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